    Case 23-10177         Doc 107          Filed 05/22/24 Entered 05/22/24 14:41:24               Desc Notice to
                                            Added Creditor Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MASSACHUSETTS


In Re:   Adam Ethan Livingston                                       Chapter: 13
         Debtor,                                                     Case No: 23−10177
                                                                     Judge Janet E. Bostwick



                                           NOTICE TO ADDED CREDITORS

A bankruptcy case concerning the debtor listed above was filed on 2/8/23. On MAY 22, 2024 , schedules of
creditors filed by the above−named debtor(s) were amended to include your name.

The filing of a bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. If you attempt to collect a debt or take other action in violation of the bankruptcy code, you may
be penalized. You may wish to consult an attorney to protect your rights. All documents filed in the case may be
inspected at the bankruptcy court clerk's office. Please note that the staff at the bankruptcy court clerk's office are
prohibited from giving legal advice.

                                                 Carolyn Bankowski−13−12
                                                 Chapter 13−12 Trustee Boston
            The trustee in this case is:         P. O. Box 8250
                                                 Boston, MA 02114


A meeting of creditors was scheduled to be held on or will be held pursuant to 11 U.S.C. § 341(a), on 03/07/2023 .
Please note that the deadline to file an objection to the debtor's claimed exemption is thirty (30) days after the
conclusion of the meeting of creditors.

           Please be aware of the following important deadlines:

              Complaint objecting to the discharge of the debtor and/or to have a debt declared non−dischargeable,
              must be received by the bankruptcy clerk's office on or before JULY 22, 2024 .

              Deadline to file Proof of Claim for Added creditors only is JULY 31, 2024 . Claims can be mailed
              to the following address:
                                   U. S. Bankruptcy Court
                                   J.W. McCormack Post Office & Court House
                                   5 Post Office Square, Suite 1150
                                   Boston, MA 02109−3945

                                                 John A. Ullian
                                                 The Law Firm of Ullian & Associates, P.C
            The attorney for the debtor is:      220 Forbes Road, Suite 106
                                                 Braintree, MA 02184


If you desire further case−related information, please contact the attorney for the debtor or if there is no attorney
listed, contact the above−named trustee.



Date: 5/22/24                                                        By the Court,

                                                                     Susan Keating
                                                                     Deputy Clerk
                                                                     617−748−5333
